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                                      OFFICE OF THE CLERK
                        UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF KENTUCKY
                                          P.O. BOX 1111
                                 LEXINGTON, KENTUCKY 40588-1111

NATHAN W. LEE                                                                          TELEPHONE
CLERK                                                                                 (859) 233-2608




DATE: June 28, 2019

TO:     J o h n C . N i m me r
        1429 South Grandview Avenue, Suite 8
        P a pillion, N ebraska 68046- 5783

RE:     Case No. 19-51291


        We acknowledge receipt of your recent correspondence and it has been scanned into the
case record. We are not permitted to give legal advice. Judges assigned to bankruptcy cases sit as
an impartial party and can only address issues brought before the court in the form of a pleading.
You may want to seek the counsel of an attorney regarding this matter.
